      Case: 4:22-cv-00112-MPM-DAS Doc #: 16 Filed: 10/24/22 1 of 8 PageID #: 47




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                GREENVILLE DIVISION

JESSICA FRYREAR                                                                       PLAINTIFF

v.                                                         CAUSE NO. 4:22-CV-112-MPM-DAS

WASHINGTON COUNTY, MISSISSIPPI
JARRELL EVANS and CEDRICK ADAMS,
In Their Individual Capacities for State Law
Violations Only                                                                    DEFENDANTS

                    WASHINGTON COUNTY, MISSISSIPPI’S ANSWER
               AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT

           NOW COMES, Defendant, Washington County, Mississippi, by counsel, and

respectfully files its Answer and Affirmative Defenses in response to the Complaint filed herein

by Plaintiff, as follows:

                                          FIRST DEFENSE

           Answering Defendant specifically asserts and invokes all the privileges set forth in Fed.

R. Civ. P. 12(b)(1)-(7) for which a good faith, legal, and/or factual basis exists or may exist.

                                        SECOND DEFENSE

           Plaintiff’s Complaint fails to state a claim upon which relief can be granted, in whole or

in part.

                                          THIRD DEFENSE

           Plaintiff’s Complaint should be dismissed on the grounds of applicable statute of

limitations, res judicata, collateral estoppel, laches, waiver, contributory negligence, Act of God,

accord and satisfaction, failure to mitigate, lack of standing, release, estoppel, and/or the doctrine

of unclean hands.
     Case: 4:22-cv-00112-MPM-DAS Doc #: 16 Filed: 10/24/22 2 of 8 PageID #: 48




                                       FOURTH DEFENSE

        To the extent applicable, Plaintiff’s claims are barred by the doctrines of collateral,

equitable, and/or judicial estoppel.

                                        FIFTH DEFENSE

        To the extent the Plaintiff has failed to comply with her duty to mitigate her request for

damages, the entitlement to which is expressly denied, such damages must be reduced.

                                        SIXTH DEFENSE

        Answering Defendant is protected by and invokes all the immunities granted by judicial,

common law, and statutory sovereign immunity, absolute, course and scope from suit, and/or

liability and/or damages.

                                       SEVENTH DEFENSE

        Answering Defendant alleges that it and its employees at all times acted within the law

and due care and that it and its employees are not guilty of acts or omissions which either caused

or contributed to the incident in question.

                                              EIGHTH DEFENSE

        To the extent that the Plaintiff seeks special damages, such damages have not been

specifically stated.

                                        NINTH DEFENSE

        Defendant is entitled to an award of attorney’s fees because this action is vexatious and

was brought in bad faith.

                                       TENTH DEFENSE

        This Defendant pleads all statutory damage caps, to the extent those are applicable here.


                                                 -2-
     Case: 4:22-cv-00112-MPM-DAS Doc #: 16 Filed: 10/24/22 3 of 8 PageID #: 49




                                      ELEVENTH DEFENSE

       Plaintiff’s alleged injuries were not caused by a policy or custom of Washington County.

Therefore, there is no municipal liability under federal law.

                                      TWELFTH DEFENSE

       Once this Court dismisses Washington County, it should abstain from hearing the

remainder of the Plaintiff’s claims, allegations, and/or requested remedies.

                                     THIRTEENTH DEFENSE

       Answering Defendant reserves the right to assert any defenses that discovery may reveal

are appropriate and incorporates herewith by reference any affirmative defenses invoked by any

other defendant applicable to it.

                                     FOURTEENTH DEFENSE

       The injuries/damages allegedly sustained by Plaintiff are the direct proximate result of

her own conduct for which she is responsible to the exclusion of this Defendant, and therefore,

the Complaint should be dismissed.

                                     FIFTHEENTH DEFENSE


       To the extent that the Plaintiff did not exhaust her administrative remedies under federal

law for some or all of her allegations, claims, or theories, those allegations, claims, or theories

may not be pursued in this action.




                                                -3-
     Case: 4:22-cv-00112-MPM-DAS Doc #: 16 Filed: 10/24/22 4 of 8 PageID #: 50




                                     SIXTEENTH DEFENSE

       AND NOW, having asserted its affirmative defenses to the Complaint filed herein, and

without waiving any such defenses, Defendant Washington County, Mississippi answers the

allegations of Plaintiff’s Complaint as follows:

       1.      The factual allegations in this paragraph do not appear to be directed to this

               Defendant, and as such, no reply is required. To the extent that it is, Defendant is

               without information to admit or deny this paragraph, so it is denied.

       2.      Defendant admits that it is a political subdivision and may be served by serving its

               Chancery Clerk or its Sheriff.        All other allegations not admitted herein are

               denied.

       3.      Defendant denies the allegations in this paragraph as stating legal conclusions and

               further denies that the Plaintiff is entitled to any relief.

       4.      Defendant admits that Frederick Formigioni was murdered in his home in

               Washington County, Mississippi on July 19, 2017. All other allegations in this

               paragraph are denied.

       5.      Denied.

       6.      Denied.

       7.      Admitted that April Miller confessed that she was involved in Frederick

               Formigioni’s murder and admitted that April Miller gave an oral statement in




                                                   -4-
Case: 4:22-cv-00112-MPM-DAS Doc #: 16 Filed: 10/24/22 5 of 8 PageID #: 51




        which she confessed to the murder of Frederick Formigioni. All other allegations

        in this paragraph are denied.

 8.     Admitted that April Miller confessed that she, the Plaintiff, and Roderick Payne

        and Eugene Sanders murdered Frederick Formigioni. All other allegations in this

        paragraph are denied.

 9.     Admitted that April Miller confessed that she, the Plaintiff, and Roderick Payne

        and Eugene Sanders murdered Frederick Formigioni. See Ex. “A” Amended

        Guilty Plea of April Miller. Admitted that based on April Miller’s confession,

        Investigator Adams executed a criminal affidavit. See Ex. “B” Probable Cause

        Affidavit. Admitted that on July 23, 2021, a jury found Plaintiff, Payne, and

        Sanders not guilty. All other allegations in this paragraph are denied.

 10.    Denied.

 11.    Denied.

 12.    Admitted that a Grand Jury returned an Indictment against the Plaintiff which was

        attached to the Complaint as Exhibit “A”. All other allegations in this paragraph

        are denied.

 13.    Admitted that April Miller confessed that she and the Plaintiff went to Frederick

        Formigioni’s home with Payne and Sanders for the express purpose of robbing

        and murdering him. See Ex. “B” Probable Cause Affidavit. All other allegations

        in this paragraph are denied.

                                         -5-
     Case: 4:22-cv-00112-MPM-DAS Doc #: 16 Filed: 10/24/22 6 of 8 PageID #: 52




       14.     Denied.

       15.     The allegations of this paragraph are not directed at this Defendant; therefore, no

               response is required. To the extent that it is, the allegations are denied.

       16.     Admitted that the Sheriff of Washington County is the official law enforcement

               policy maker for this Defendant. All other allegations in this paragraph are

               denied.

       17.     Denied.

       18.     Denied.

       19.     Denied, including subparagraphs Count I, II, and III.

                                     REQUEST FOR RELIEF

       In response to the unnumbered paragraph beginning “Plaintiff requests”, the allegations

and demands for relief are denied.

       AND NOW, HAVING FULLY ANSWERED and asserted its Affirmative Defenses,

Defendant Washington County, Mississippi prays that this Court grant the following relief:

       (A)      That this Court dismiss Plaintiff’s Complaint with prejudice, based upon each

and all of the aforesaid Affirmative Defenses;

       (B)     That this Court deny Plaintiff the relief prayed for in Plaintiff’s prayer for relief,

and that Plaintiff be denied any relief whatsoever; and,




                                                 -6-
     Case: 4:22-cv-00112-MPM-DAS Doc #: 16 Filed: 10/24/22 7 of 8 PageID #: 53




       (C)     That this Court award this Defendant its attorney fees, costs and expenses

associated with the defense of the frivolous instant civil action pursuant to Fed. R. Civ. Proc. 11,

and 42 U.S.C. §1988.

       RESPECTFULLY SUBMITTED this the 24th day of October, 2022.

                                              JACKS GRIFFITH LUCIANO, P.A.

                                              By: /s/ Arnold U. Luciano
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                                                -7-
     Case: 4:22-cv-00112-MPM-DAS Doc #: 16 Filed: 10/24/22 8 of 8 PageID #: 54



                                CERTIFICATE OF SERVICE

        I, Arnold U. Luciano, attorney of record for Defendant, do hereby certify that I have this
day caused a true and correct copy of the above and foregoing Answer and Affirmative Defenses
to be delivered by the ECF Filing System which gave notice to the following:

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       DATED this 24th day of October, 2022.

                                             /s/ Arnold U. Luciano
                                             Arnold U. Luciano




                                                -8-
